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(Del. Rev. 5/20|4) Pro Se Employment Discrimination Complaint g
IN THE UNITED STATES DISTRICT COURT g
FOR THE DISTRICT OF DELAWARE 2
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Sherine Abdelfattahfathy ::
-s.:;
co
(Name of Plaintiff or Plaintiffs) y
l 8 " l 9 5 5
v. Civ. Action No.
(To be assigned by Clerk’s Ofiice)
St. l\/lichae|'$ SChOO| & Nursery, |nC. C()MPLAINT F()R
EMPLOYMENT DISCRIMINATION
(Pro se)

 

(Name of Defendant or Defendants)
Jury Demand?

es
UNO

i. This action is brought pursuant to (check all spaces that apply):

d Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
employment discrimination on the basis of race, color, religion, sex, or national origin.

l'_'l Age Discrimination m Employment Act of 1967, as amended 29 U. S. C. §§ 621, et seq ,
for employment discrimination on the basis of age. My year of birth` 1s:

Cl Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
discrimination on the basis of a disability by an employer which constitutes a program
or activity receiving federal financial assistance.

D Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq., for
employment discrimination on the basis of disability.

 

 

 

 

 

2. Plaintiffresides at 1803 Gi|pin Avenue
(Street Address)
Wi|minqton New Cast|e DE 19806
(City) (County) (State) (Zip Code)
302-528-0724 . Attach additional sheets if more than one Plaintiff.
(Area Code) (Phone Number)
3. Defendant resides at, or its business is located at 700 N. Walnu'£ Street
(Street Address)

Wi|minqton New Cast|e DE 19801 .(
City) (County) (State) (Zip Code)

Attach additional sheets if more than one Defendant.

 

 

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4. The discriminatory conduct occurred in connection with plaintiffs employment at, or application

to be employed at, defendant’s Si. l\/lichae|'S SChoo| & NurSery, |nC. place of business
(Defendant’s Name)

located at 700 N. Wa|nuf Street

 

 

 

 

 

 

 

 

(Street Address)
Wi|minqton New Castle DE 19801 .(
City) (County) (State) (Zip Code)
5. The alleged discriminatory acts occurred on , , 2016
(Day) (Month) (Year)
6. The alleged discriminatory practice Cl i_s_ 121 is not continuing
7 . On , , 2018 , Plaintiff filed charges
(Day) ( Month) (Year)
with the Department of Labor of the State of Delaware: DOL ,
(Ag€n<>y)
(Street Address) (City) (County)
, regarding defendant’s alleged discriminatory conduct.
(State) (Zip Code)
8. On , |V|ARCH ,2018 , Plaintiff filed charges
(Day) ( Month) (Year)

with the Equal Employment Opportunity Commission of the United States regarding defendant’s alleged

discriminatory conduct.

 

9. The Equal Employment Opportunity Commission issued the attached Notice~of~Right-to-Sue
letter which was received by plaintiff on: 13 , September , 2018
(Day) (Month) (Year)

(NOTE: ATTACH NOTICE-OF-RIGHT-TO-SUE LETTER TO THIS COMPLAINT.)
10. The alleged discriminatory acts, in this suit, concern:

A. El Failure to employ plaintiff

B. CZ Termination of plaintiffs employment Plaintiff was terminated from employment on
the following date: November 13, 2017

C. CI Failure to promote plaintiff Plaintiff was 1efused a promotion on the following date:

 

D. D Other acts (please specify): retaliation and vioiatinq F|V|LA

 

 

 

 

il. The conduct of Defendant(s) was discriminatory because it was based on (check all that apply):

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Plaintiff"s race
Plaintiff"s color
Plaintiff’s sex

Plaintiff’s religion
Plaintiff’s national origin
Plaintiff"s age

Plaintiff’s disability

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nnmquun

12. A copy of the charges filed with the Department of Labor of the State of Delaware and/or the
Equal Employment Opportunity Commission is attached to this complaint and is submitted as a
brief statement of the facts of plaintiff’ s claim.

(NOTE: ATTACH A COPY OF THE CHARGES FILED WITH THE DEPARTMENT OF LABOR OF
THE STATE OF DELAWARE AND/OR THE EOUAL EMPLOYMENT OPPORTUNITY COMMISSION
OF THE UNITED STATES TO THIS COMPLAINT.)

THEREFORE, Plaintiff asks the Court to grant such relief as may be appropriate, including but not
limited to (check all that apply):

A. D Injunctive relief (specify what you want the Court to order):

 

Q’ Back pay.
D’ Reinstatement to former position.
C\]/ Monetary damages in the amount of
Cl That the Coult appoint legal counsel.

EJ/ Such relief as may be appropriate, including costs and attorney’s fees.
Cl Other (specify):

 

aaacon

 

I/We declare under penalty of perjury that the foregoing is true and correct.

Dated: i_.Q- '/f ‘ / if

Mm bca An)//Zi /1117#/1£1¢1€1/£»//

(Signature of l:flaintiff) b ‘J

 

(Signature of additional Plaintiff)

 

NOTICE
Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to electronic court
files. Under this rule, papers filed with the couit should 1101 contain: an individual’s full social security number or full birth date;
the full name of a person known to be a minor; or a complete financial account number. A filing may include 011/y: the last four
digits of a social security number; the year of an individual’s birth; a minor’s initials; and the last four digits of a financial
account number.

 

 

 

 

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TI iE PARTIC ULARS ARE (//'.lddl`tinn.)/p.)perls needed .m.n‘/l e'.\ln) .\'/le¢‘(/.<!/:
Respondent hired me in or around 0ctober 2013. I worked as the CACFP director, l was the only Muslim Egyptian on the admin

 

 

team. i was demoted to Librarian on September 18, 2017 and discharged on November 13, 2017. l had issues with the way that my
children were treated at Respondent and made complaints to Respondent. ln or around 2016, l began noticing harassment and
disparate treatment of Muslim Egyptian employees myself included This harassment continued until the end of my
employment The harassment was often in the form of offensive jokes and questions and we were no longer permitted to take
Muslim holidays off. Executive employees Johanna Seda and Lucinda Ross engaged in this harassment and disparate treatment
Respondent did not have a process for reporting this behavior. I suffered two workplace injuries injune andJuiy of 2017 that
caused and exacerbated disabilities When l returned from leave for said disabilities t was demoted to librarian. I again went on
leave and was told to return without restrictions When I was cleared to return to, I was denied accommodations Respondent
subsequently discharged me because my FMLA ran out. 1 believe that Respondent subjected me to a hostile work environment in
violation of Title Vii of the Civil Rights Act of 1964, as amended, in that I was harassed and treated differently because of my
national origin and religion Additionaiiy, l believe that Respondent violated the Americans with Disabilities Act of 1990, as
amended,li in that I was denied accommodations demoted in retaliation for requesting accommodations and discharged due to
my disabi ties.

 

 

 

1 w.inl this charge filed with both the thOL‘ and the State or local ngcncy. \f;iny. l will NOTI\RY ’ Wi'¢‘/' 'lf‘¢'¢’FSJ/.i'/i"`§f‘""~""i'i¢"'J/'ia'¢"'“§' /i¢¥l”i""""’"i-‘
advise the agencies ii l change my address or phone number and t will cooperate fully with
them m the processing ol` my charge in accordance with llteir procedures

 

Iswcar or affirm that l have read the above charge and that it is true to the
t declare under uenaltv of ueriurv that the above ts true and correct best of mv knowledge information and bellcf.

 

 

 

 

sherine Abde|fattahfathy

 

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